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 6

 7
                                UNITED STATES DISTRICT COURT
 8                             EASTERN DISTRICT OF CALIFORNIA

 9                                                       Case No. 2:22-cv-01959-DAD-DB
      JOHNNY W. RIZO,
10
                        Plaintiff,                       STATUS REPORT
11

12           v.

13    THE LITGATION PRATICE GROUP, PC.,

14                      Defendant.

15

16
             NOW COMES Plaintiff, JOHNNY W. RIZO (“Plaintiff”), by and through the
17    undersigned counsel, and respectfully submits the following status report.
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19

20       1. Defendant’s Bankruptcy is currently pending.

21       2. On March 22, 2024, a Chapter 11 Plan was filed in this case.
22       3. Currently, there is a hearing set to take place on May 15, 2024, on a Joint Motion filed by
23
             the Chapter 11 Trustee and the Official Committee of Unsecured Creditor for an Entry of
24
             an Order on: Proposed Disclosure Statement Solicitation of and Voting Procedures, and
25
             Notice and Objection Procedure for Confirmation of Joint Chapter 11 Plan of Liquidation.
26
27       4. A copy of the current bankruptcy docket is attached as Exhibit A.

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     Case 2:22-cv-01959-DAD-DB Document 25 Filed 04/16/24 Page 2 of 2


 1    DATED: April 16,2024
 2    /s/Alexander J. Taylor
 3    Alexander J. Taylor, Esq.
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 8

 9
                                       CERTIFICATE OF SERVICE
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               I hereby certify that I today caused a copy of the foregoing document to be electronically
11

12   filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

13   record.

14
                                                            s/ Alexander J. Taylor
15                                                          Alexander J. Taylor
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